Case 1:17-cr-00232-EGS Document 133-8 Filed 11/01/19 Page 1 of 2

yoogaion MoUs by aH | ey a 0} 09 a yoeg >

BOSS JO OPFL UEREO + Szjoos eed wEz

UsAI—SBULM ISAM FU} OFUT ATJUa JOJ Yse puE sNuaAy erueAAsUUAg OOYT JO Sayed UOT ayy 0} dn yyeM Jsnf Jou saop suo ‘anssT JeyOUY
"sUOTIDE STY SuTUTE[dxa BANLLIEU SNOWY & asTeayal PUL JOOIUOD OF
SUT) BABY JUS ay ‘wy YWM ZuLeads ul asod.imd sytoads sneamg ay} JO PULM 103 ay FI ‘UUATJ JO ased ay} Ul “OIdo} Fe~MoNed & 0} UOT IeaT
s,alqns e ZutApnys uo osTe Inq ‘suosanb poos Suryse uo ATO jou siayuad Awapeoy [gj ey} Je UOT INsUt Jo xDo;q aQua uy ‘gol ay} Jo
syed Sutuaiysyua pue SUIeUTISEJ JSOUL ay] JO auO st SuTUONSanb jo auy s,jUade ue oO} UOTIeAI [eoTsAYd pue sp1OM Jo sIsATeue aulT-[ear
3Y}—pepnput jjasAwi—syusse gj Aue Joj “SuTpeulos apry 0} ZuNduiae st MaTAIIIUI Ue Jo Walqns ayy JatJaYyM saafesWiat} IO} ssasse 0}
syuade 1oJ Japio ul astidins Jo JUaWaTe Ue SUTUTEJUTEUI SI SsaUTNJYINA] s,auoa wos SUTUTULIAJap Jo Jadse Avy Y “apre AyMIas euoTeU Jatyo
$,JUaptseid ay} JO MaTAZAIUI Ue SUNINpuOd alojaq asnoy ayy MM ay} pue UUATI 0} aAIS pmoys [qj au} ‘Aue FI ‘sou yeEYM sem JsIY syL
“panposai aq 0} pel IsIY JY Sansst om} alam alayy yng ‘A10}s ay} Jo apts sUUATJ Jad 0} BANeISdUT sem I WsNoy] Wea) aquasT]eULayUMOI
STY puke APWIOD ‘a}yMS $,10}99IIp al} apISUT WOIssnosTp asUazUT Jo JIa[qns ay} SEM UUATI SULMATAIa UT YILM paadoid 0} Moy Jo uoNsenb syL
‘S]De} Jayyes pue UoTyesIaAUOd € savy OF :}Saq SaOp II JeYM Op 0} pey [GJ 3U} ‘(as10M Io) Juaptsaid als ZuT
“WOU at} 0} pal] pey UUATJ We) BuNsessns yuaudoyaaap uonwvy ay? a9yJ aBueI]s sy) YIM pue Wy UeTOT st} Jo Toye unz ATTeHuajod pey
UUATI 1eU aSpaTMOUY YIM ‘ssapayaAaN ‘UoNsasold JweIEM PMNom Jey} SuTyAue JAods |p 0} IA PeY Idd 9U3 Inq ‘UTPUaIY Sy] STA-E-STA
JotAeyaq Sutjzznd pastoraxa pey UUATJ YSNOU] se pareadde iI ‘Iopessequie UETSSNyY SY} YIM STTed STY JO AT@AOISIp ot} 0} IO Ig “Noge apqeioy
-W109 SOW SY Yay ATEN oe [qd aU Walqns uoTyeSNHsaaut auKsUMYP aTyssory at} se UUATJ paqiosap [eyo JaULIOJ auo ‘jIeJ Uy ‘aysoddo ayy
a}MH Jastape Ayes TeuoTeU SUTWIOIUT ayy UMOp SuLAq 0} MO Jas Jou pIp [gj aya ‘dummy, Aq payoulord souls eaerreu ay} o} AreTUW0D
‘SUT STOW
IMO} UT ayerey][ Go Jay{aoIe pmom ay YOTYM ‘WLIOU TeUOTINIsUT JURJOduT Ue ye Aeme Zurddyys sem ay ‘gof ay} Ul ureter pfnom AeuroD
JaTPIYM Uo UOlsTIap ay Supyeutr aq plnom Fjesurry dummy, yey} AsutoD 0} ZuryderZapai Ag ‘asned oj ATUO paaouled aq pMoM IoWearIp & yey}
WIOU paydasse Ajjeraued & sem 11 OS—IYST] 0} SUITED SUOTIEIOFA [EOTYJA SNOLEA Jaye € 66] Ul UCIT [lq Juaptselg Aq pory sem oYM ‘sudTssag
WETIM 10}2arIG JO ased ay Ul se YoNs—suoseal Jyads 10} pally aq Pinos 10}2aTIp & Jey} play WoysnD ‘UoTIsod ay} UT AUOID & [TeIsUl pue
Teale uodn asnoy uesp ATduits 2,U0M Juapisold Mou eB Jey amMsua 0} JURA ST Wa} Jeaf-Ud] payepueW ATO NIJe}s §,10}9eTIpP 144 OYL
‘UIWadIOJUS ME] Teepe} sprzoye
AqpeotdAy asnoy 231M au) aUepuadapuy parou0Y-euIn ayy Joy UoTeerdde Jo Jo SuTpueysiapun ou pey ay Jey Surpeusis sem dums] ‘afor

o OU

Jueaqn]
Case 1:17-cr-00232-EGS Document 133-8 Filed 11/01/19 Page 2 of 2

ASOGSION MOUS

BOSS JO LSPL LOOT © SYZyO 16 abRd KET

‘Jay Jasue pmom dooy ay} Jo no Jday Sutaq ‘suoMUszUt poos sty syidsagq "aA OU JseaT Je—Jay [Ja}. 02. JOU paploap ay os
‘Iofeul ZUTSWIOS OJUI pauIN} Ireye UUATJ 9 FI UOT}ENSTUIWIpE at] WOT aULED Jeay JaAaTeyM aye] plom Adu0D Jey suLMsus ‘AyyIqetuep
Jay Jayo pom sayex Suyja} Jou yey yyAnoyQ osye ay ‘UUATY Jsuese asrey> ay} Surpeay sayutodde eureqo ue jo uorjdaosad ayy Ysta Ws
Ja]JLW! UUATI at} Uo ssad01d BuLEW-UOIs Pep ay} OFT Jay SUIBULG Jey} pal1IOM AIUD ‘IgJ AY] apIsUT SejeA Ul aUapPYyUod ay} aydsaq
"yueAIas oT[Gnd Iaares jeoryode payoadsai e se spol [dj pue (Od Ul UMoUy AjelauI sem ays
aU ay} ye Ng—suLTY Jay 0} ZuTpesy AjayewI[N—, Ue UI[sNW,, ay} JaA0 UOTIeIIsTUIWIpE duMIL ay} 0} dn durpuels 1ayye sureu ployesnoy
B awWiodaq WOOs pom ays ‘sread AI Apeau pouueds Jey] Jaeres & Ul JUaUTIEdaq aDNsN{ ay} Jo syueI ay] YSNoIy} aso1 OYM IeAMET WSU
~WI3A08 paysT]durosoe ue st sayeq "YDUAT BYaIO'] oy JUsWAaIeTdal PUNO} aSNOH SUM lt} a[TGM VOTeIMsnew ay} Jaye Te1suas Asu10}}e
Sune Jo uotysod ay 0} payeaaya seq pey om ‘Terauas Aauroyye Ayndap szurego ‘sayex ATES Sem sTeYO esoy) Jo auO ‘dumi1y, wea],
JaSIe} 0} JUsWTIEd|q VTIsN{ ay} Je STeETYO UOTJeIsTUTLUpE eUTEGD JaAOpjoy Aq WOYa yIIp-se] & Se padtaozad |q JYSTUI JasTApe AyINIes
TeuoTyeU Mau ayy JsuTEse sdajs aATeSTSAAUT J.19A0 SUPTE) JE UIAIUOD STY UO palajuad aposida ULATJ al} UI UOTsIDap STY yey] VUE pfo} AsUIOD
‘UOTININSUT JUspuadapuT pue yearode ue se [gj ay} Ul aUapyUuod dT[Gqnd amsua pMom yeu} SUOIS Pap UO PUTO} JYSNoOs ual] pue—suoT IJ
Suiayrp Aq paataoiad aq JST HW Moy Jo suay ay} Ysnomp ensst yoea SurApnjs—gy oy} Aq aaow apyoid-ysty yea parpnys sAemye AsuloD
"yuawedag aorsn{ ay} ye JaA0 SIs} eI} BUTN.I Jo uoM{sod reyUTeJ Sy} Ul WY puel prom pue Asynz ATpenba sem UOls ap IxauU s,AIUOD
"JL aq Os ‘YIE} 0} pasnjar UUATJ JI [asUNGD 03 WSU sy] pure JUATIs UleUla 0} JYSH e pey at 3eYy
WITY [[9} 0} JUaWamMbal ou aq pfnom arlayy Os—AzTeyUNIOA aq pInom MatArazUT Aue—Apo}snd UT aq JOU pom UUATI "pres AsulOD ,II Mars
‘mouy nod ‘peppep isnf{am,, WeLlodut Sumpeutos oge wy YIM yeads 0} syuagTe om] JaAo ZUTPUAs SEM [GJ AU} WITY [[a} pue UUATJ [Ted 03
‘aqeDow Merpuy ‘Ayndap sty 0} IST Weard at} sakes AswioD ‘UOIssnosTp YON Jay ‘euUeTeaTP Jo} auOYd ayy Aq SUTITEM Usy} pure ‘Armbut
ay} JO amyeu oy SuTUTe[dxa ‘sdyJo sJasuNod asnoxy 3M ay} 0} Jsanbaz v 1aa0 SUTPUAS BATOAUT PMNom [oI030Ad fesIdAL ,, WUATZ YIM UMOP
JIS 0} ASNOP AIM st} 0} JaA0 syuase Surpuas yIIM Aeme Jos Aypenjoe WSW am IWSnoy} am,, ‘aw plo} Asuloz ,‘soeyo oti Te WIM.
‘aded otaua7j ayy Zur
-nZojeyeo sdi0o ssaid & pure SaANETITUT JO SOY EB UO payrels Jad 0} Java JauUOsIed YIM zznge sem ade[d ay} pue ‘safor Mau Tay} OW! SuTHes
TIHs azam els asnop 33M JEU} KF VYQ SEM P IO} ZuIOZ pey [qj 9U} ZUTGI auO ‘BoueApe UI [[aM paaa Useq sey yey asod.md paziioy ne
ue sey punodurod asnoy aim ay} OWUT Aem Tey} SuPyeut ATTenIIe auCAUL JEU aInsua AQLINIES Jo SBUTI JIAJUIIUOD “Uase [qj Ue BAMNOA FI

ul ER Co Oo] By a 0305 a yoeg >

g

Ageia)
